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September 7, 2018

VIA ELECTRONIC FILING & EMAIL (Lehrburger NYSDChambers@nysd.uscourts.gov)
Honorable Robert W. Lehrburger, U.S.M.J.

U.S. District Court of New York
United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Dardashtian, et al. v. Gitman, et al.,
Case No.:_17-cev-4327 (LLS)(RWL)

Dear Judge Lehrburger:

Counsel for Plaintiffs and Defendants write jointly to advise of the status of this matter
and to propose an amended discovery schedule for Your Honor’s consideration.

At our last settlement conference before Your Honor, we discussed the status of our ESI
production, wherein the parties’ respective technical teams were in the process of conducting the
data collection. In substance, Your Honor understood the parties’ need to amend the current
discovery schedule, however, reiterated that the settlement discussions should not serve as a
basis to delay this proceeding.

On August 14, 2018, the parties’ counsel had a meeting at Defendants’ counsel’s office
for continuing settlement discussions. The discussions have been productive thus far but there is
no agreement at the present time. Accordingly, we have been proceeding with discovery so that
all continuing settlement discussions do not serve to delay the status of this matter consistent
with Your Honor’s instruction.

Since the parties’ last settlement conference, the parties’ respective technical teams have
now completed their data collection pursuant to the parties’ ESI protocol. Based on the
substantial number of documents to be exchanged, the parties have agreed to produce all ESI
discovery on a rolling basis, which the parties can commence by September 21, 2018. It is
anticipated that the parties can complete the entire production by October 30, 2018, at which
time depositions will commence.

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If same is acceptable to Your Honor, the parties will jointly submit an amended discovery
schedule, consistent with the following:

a) Paper discovery and ESI production shall be completed by October 30, 2018;

b) Fact witness depositions shall be completed by December 30, 2018;

c) Expert reports shall be exchanged by February 15, 2019;

d) Expert depositions shall be completed by March 15, 2019;

e) The Parties shall file dispositive motions by April 30, 2019;

f) The joint pretrial order shall be submitted within 30 days after a decision on
dispositive motions.

If same is acceptable to Your Honor, the parties’ will file a proposed amended discovery
order consistent with the foregoing. If for any reason there are any problems with this request,
kindly so advise and the parties will proceed in accordance with Your Honor’s directive.

Thank you for your Honor’s consideration of the foregoing.

 

Cc: Mark Meredith, Esq.

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